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RQBERT H. 535 TF&QL!O
UNITED STATES OF AN|ER|CA, §§L&':Fil'~’.. U.S. §315_3`5°, CT.
triva OF TN. Nit;r\}lleS

Plain’[iff,

VS.
CR. NO. 04-20448-B

N|O|\/|| JENN|FER JA|V|ES, LAV|TA l\/|. HARVEY
DAN|EL CURRY,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY||\|G PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on N|ay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Mondav. Julv 25. 2005, at 9:30 a.m., in Courtroom 1, 11th F|oor of the
Federa| Bui|ding, Nlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT lS SO ORDERED this § day Of June, 2005.

/ /r”

05 J.@ FET_'BREEN
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UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 93 in
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US DISTRICT COURT

